                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                      )
                                               )
 vs.                                           )   CASE NO. 3:14-CR-89-PLR-HBG
                                               )
 BOBBIE JO FORRESTER                           )


                       ORDER OF COMMITMENT FOR
                   MENTAL EXAMINATION AND EVALUATION


        This matter came before the court on March 5, 2015, for a change of plea hearing.

 Assistant United States Attorney Brooklyn Sawyers appeared on behalf of the

 Government. Wesley D. Stone appeared on behalf of the defendant, Bobbie Jo Forrester.

 During the hearing, Mr. Stone made an oral motion for the court to determine the

 defendant’s competency to proceed with the change of plea hearing. He also asked that

 the defendant undergo a mental evaluation at a Bureau of Prisons facility to assist the

 court in making this determination. Counsel stated that he had discussed the mental

 evaluation with defendant and that she understands that she would go into custody for the

 evaluation. AUSA Sawyers stated that the government does not oppose counsel’s request

 for a mental evaluation, and takes no position on the request that defendant self-report to

 the United States Marshal Service for transport to the designated facility.

        Based upon the court’s observations and counsel’s interactions with the defendant,

 the court finds that reasonable cause exists to believe that defendant may presently be

 suffering from a mental disease or defect that renders her mentally incompetent to the




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 extent that she is unable to understand the nature and consequences of the proceedings

 against her or to assist properly in her defense.. The court concludes that reasonable

 cause exists to warrant a mental examination and evaluation of defendant under 18

 U.S.C. § 4241(a). Accordingly, the court GRANTS defense counsel’s oral motion that

 defendant undergo an inpatient competency evaluation at a Bureau of Prisons facility.

 The court finds, however, that it may take two to three weeks for the designation of a

 BOP facility. Thus, the court finds that the defendant may remain out on her current

 conditions of release until a BOP facility is designated. At that time, defendant may self-

 report to the custody of the Attorney General by reporting to the United States Marshal

 Service for transport to the designated facility.

        It is hereby ORDERED, pursuant to 18 U.S.C. §§ 4241(b), 4247(b) and 4247(c)

 as follows:

        1.      Defendant shall self-report to the custody of the Attorney General, or his

 designated representative, following designation for confinement in a suitable facility for

 the purpose of conducting a psychiatric and/or psychological examination by one or more

 licensed or certified psychiatrists and/or clinical psychologists. After designation of the

 facility is received, defendant shall be transported by the United States Marshal Service

 to such facility.

        2.      The purpose of the evaluation shall be for one or more licensed or certified

 psychiatrists and/or clinical psychologists to conduct psychiatric and psychological

 examinations of defendant for the purpose of determining whether defendant is suffering

 from a mental disease or defect rendering her incompetent to the extent that she is unable
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 to understand the nature and consequences of the proceedings against her or to assist

 properly in her defense.

        3.     Pursuant to Rule 12.2(c), Federal Rules of Criminal Procedure, defendant is

 to submit to such examinations as ordered above.

        4.     Defendant shall be given any necessary medications if determined

 appropriate by the medical staff at the facility.

        5.     The examiner and/or examiners designated to conduct such examinations

 shall, pursuant to 18 U.S.C. § 4247(c), file with the court as soon as possible after the

 completion of such examinations, a report of their examinations with copies provided to

 counsel for the defendant and counsel for the United States, and said report shall include:

        (a) defendant’s history and present symptoms;

        (b) a description of the psychiatric, psychological and medical tests, that
        were employed and their results;

        (c) the examiner’s findings;

        (d) the examiner’s opinions as to diagnosis and prognosis; and

        (e) the examiner’s opinion as to whether defendant is suffering from a
        mental disease or defect rendering her mentally incompetent to the extent
        that she is unable to understand the nature and consequences of the
        proceedings against her or to assist properly in her defense.

        6.     Pursuant to 18 U.S.C. § 4247(b), defendant shall be committed to the

 custody of the Attorney General for the purpose of such examinations for a reasonable

 period of time not to exceed thirty (30) days, unless otherwise ordered by the court.




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        7.       Defendant shall be returned to the custody of the United State Marshal

 immediately following the completion of the evaluation or the expiration of the thirty

 (30) day period, or any reasonable extension of that time period, whichever is sooner.

        8.       A competency hearing and/or status conference will be set for May 4, 2015,

 at 1:30 p.m. If defendant has returned and the court has received the forensic report prior

 to this time, the court may schedule a competency hearing on an earlier day. If the

 defendant has not returned, or the court has not received the forensic report by this date,

 then the matter will proceed as a status conference.

        9.       The United States Marshal shall notify the Clerk of the Court and the

 undersigned’s office promptly when defendant returns to this district from the mental

 evaluation. If defendant has returned in time, the Marshal shall bring her to the May 4,

 2015 competency hearing. The court will take up the matter of the defendant’s continued

 release on conditions at the competency hearing.

        10.      The Clerk of the Court is DIRECTED to serve copies of this Order on

 counsel of record and to serve three (3) certified copies on the United States Marshal.

        IT IS SO ORDERED.

        Enter:



                                           ____________________________________
                                           UNITED STATES DISTRICT JUDGE




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